           Case 5:21-cv-04102-JFL Document 46 Filed 03/28/22 Page 1 of 3



                       UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF PENNSYLVANIA
____________________________________

TIMIPRE SYLVA,                      :
                  Plaintiff,        :
                                    :
            v.                      :                       No. 5:21-cv-4102
                                    :
JACKSON UDE,                        :
                  Defendant.        :
____________________________________

                                            ORDER

       AND NOW, this 28th day of March, 2022, upon consideration of the Plaintiff’s letter-

request, which is attached below, wherein he requests an extension until April 7, 2022, to respond to

Defendant’s discovery requests, IT IS HEREBY ORDERED THAT the Plaintiff’s request for an

extension is GRANTED.



                                                    BY THE COURT:

                                                    /s/ Joseph F. Leeson, Jr.________
                                                    JOSEPH F. LEESON, JR.
                                                    United States District Judge




                                                 1
                                              032822
            Case 5:21-cv-04102-JFL Document 46 Filed 03/28/22 Page 2 of 3




                                                                               Michael D. Cilento, Esq.
                                                                                 michael@ilawco.com
                                                                                        347-404-5844
                                             March 24, 2022
VIA EMAIL TO CHAMBERS
Hon. Joseph F. Leeson, Jr.
United States District Court
504 W. Hamilton Street, Suite 3401
Allentown, PA 18101
Chambers_of_Judge_Joseph_F_Leeson_Jr@paed.uscourts.gov

                                 Sylva v. Ude, 5:21-cv-04102-JFL

Dear Judge Leeson, Jr. –

       We represent the Plaintiff, Mr. Sylva, in this matter. We write to request a two-week
extension of time, until April 7, 2022, for Mr. Sylva to respond to Defendant Ude’s First
Requests for Production, Admissions, and Interrogatories (the “Discovery Requests”). The
Discovery Requests were served to Plaintiff on February 15, 2022, and, before the time to
respond expired, the parties did, at Plaintiff’s request, agree to a one-week extension until March
24, 2022 for responses to be served.

       Unfortunately, the same reasons that necessitated the first request for a one-week
extension again require a further short extension. Specifically, due to Mr. Sylva’s role as
Nigeria’s Minister of State for Petroleum Resources, Mr. Sylva has had an unavoidably chaotic
work and travel schedule as he has worked to mitigate and minimize the impact of the recent
and unfolding Russia-Ukraine war on Nigeria’s economy. Mr. Sylva has thus been, to date,
unable to coordinate sufficient time with counsel to finalize responses to the Discovery
Requests.

       We do note that the Court has allowed for 120 days to complete discovery in this case, as
opposed to this Court’s usual 90 days, and we also note that the parties have not yet scheduled
any depositions in this case. Therefore, the impact of a two-week extension for responses should
          Case 5:21-cv-04102-JFL Document 46 Filed 03/28/22 Page 3 of 3




be very minimal, and Plaintiff would consent to an extension of the overall discovery period if
Defendant should need more time. While Defendant did agree to the initial one-week extension,
Defendant would not agree to this additional extension request, and so we ask the Court for
intervention. We thank the Court for its attention to this request.



                                                  Sincerely,



                                                  Michael D. Cilento, Esq.

Copies of this Letter to:

Benneth Amadi, Esq.
<bamadilaw@gmail.com>, <bamadilaw@verizon.net>

Olugbenga Abiona, Esq.
<oluesq@aol.com>

David Lin, Esq.
<David@iLawco.com>




                                                  2
